

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-20,383-25






HERMAN SIDNEY FLOWERS, Relator


v.


HARRIS COUNTY DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NOS. 497335, 497337, 497338 &amp; 497339 

IN THE 174TH JUDICIAL DISTRICT COURT

FROM HARRIS COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court. In it, he contends that he filed applications for a writ of habeas corpus in
the 174th Judicial District Court of Harris County, that more than 35 days have elapsed, and that the
applications have not yet been forwarded to this Court.  

	 In these circumstances, additional facts are needed. The respondent, the District Clerk of 
Harris County, is ordered to file a response, which may be made by: submitting the record on such
habeas corpus applications; submitting copies of timely filed orders that designate issues to be
investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); stating that the
claims asserted in the applications filed by Relator are not cognizable under Tex. Code Crim. Proc.
art 11.07, § 3; or stating that Relator has not filed applications for a writ of habeas corpus in Harris
County. This application for leave to file a writ of mandamus shall be held in abeyance until the
respondent has submitted the appropriate response. Such response shall be submitted within 30 days
of the date of this order.



Filed: September 24, 2008

Do not publish	


